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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

                                           )
In re:                                     )
                                           ) Chapter 11
HIGHLAND CAPITAL MANAGEMENT, L.P.,         )
                                           ) Case No. 19-34054 (SGJ)
             Reorganized Debtor.           )
                                           )
                                           )
THE CHARITABLE DAF FUND LP; CLO HOLDCO )
LTD.; MARK PATRICK; SBAITI & COMPANY PLLC; )
MAZIN A. SBAITI; JONATHAN BRIDGES; AND )
JAMES DONDERO,                             )
                                           )
                  Appellants,              ) Case No: 3:21-cv-01974-X
vs.                                        )
                                           )
HIGHLAND CAPITAL MANAGEMENT, L.P.,         )
                                           )
                  Appellee.                )
                                           )
                                           )

                                CERTIFICATE OF SERVICE

       I, Esmeralda Aguayo, depose and say that I am employed by Kurtzman Carson
Consultants LLC (“KCC”), the claims and noticing agent for the Reorganized Debtor in the
bankruptcy case of Highland Capital Management, L.P., Case No. 19-34054-sgj11 (Bankr. N.D.
Tex).

        On December 17, 2021, at my direction and under my supervision, employees of KCC
caused the following document to be served via Electronic Mail upon the service list attached
hereto as Exhibit A; and via First Class Mail upon the service list attached hereto as Exhibit B:

   •   Highland Capital Management, L.P.'s Unopposed Motion for Extension of Time to
       File Response Brief [Docket No. 20]

Dated: December 22, 2021
                                                 /s/ Esmeralda Aguayo
                                                 Esmeralda Aguayo
                                                 KCC
                                                 222 N Pacific Coast Highway, Suite 300
                                                 El Segundo, CA 90245
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                           EXHIBIT A
                                               Exhibit A
            Case 3:21-cv-01974-X DocumentCivil
                                          22Action
                                                Filed   12/23/21
                                                   Service List
                                                                                           Page 3 of 5 PageID 12023
                                                           Served via Electronic Mail


            Description                    CreditorName                  CreditorNoticeName                              Email
                                                                                                       john@bondsellis.com;
                                                                                                       john.wilson@bondsellis.com;
                                                                 John Y. Bonds, III, John T. Wilson, bryan.assink@bondsellis.com;
                                   Bonds Ellis Eppich Schafer    IV, Bryan C. Assink, Clay M. Taylor, clay.taylor@bondsellis.com;
 Counsel for James Dondero         Jones LLP                     William R. Howell, Jr.                william.howell@bondsellis.com
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 Financial Advisor to Official                                   Earnestiena Cheng, Daniel H           Earnestiena.Cheng@fticonsulting.com;
 Committee of Unsecured Creditors FTI Consulting                 O'Brien                               Daniel.H.O'Brien@fticonsulting.com
                                                                 Melissa S. Hayward, Zachery Z.        MHayward@HaywardFirm.com;
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                                                                                                       jpomerantz@pszjlaw.com;
                                                                                                       ikharasch@pszjlaw.com;
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 Counsel for CLO Holdco, Ltd. and                                Mazin A Sbaiti, Jonathan Bridges,     MAS@SbaitiLaw.com;
 Charitable DAF Fund, L.P.         Sbaiti & Company PLLC         Kevin N Colquitt                      jeb@sbaitilaw.com
 Counsel for The Charitable DAF
 Fund LP                           Schaerr Jaffe LLP             Brian J Field, Erik S Jaffe           bfield@schaerr-jaffe.com
                                                                                                       mclemente@sidley.com;
                                                                 Matthew Clemente, Alyssa Russell, alyssa.russell@sidley.com;
 Counsel for Official Committee of                               Elliot A. Bromagen, Dennis M.         ebromagen@sidley.com;
 Unsecured Creditors               Sidley Austin LLP             Twomey                                dtwomey@sidley.com
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                                                                 Penny P. Reid, Paige Holden           pmontgomery@sidley.com;
 Counsel for Official Committee of                               Montgomery, Juliana Hoffman,          jhoffman@sidley.com;
 Unsecured Creditors               Sidley Austin LLP             Chandler M. Rognes                    crognes@sidley.com
 Bankruptcy Judge                  US Bankruptcy Court           Hon. Stacey G Jernigan                sgj_settings@txnb.uscourts.gov
                                                                 Thomas P Cimino , Jr, William W       tcimino@vedderprice.com;
 Counsel for James Dondero         Vedder Price PC               Thorsness                             wthorsness@vedderprice.com;




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                           EXHIBIT B
                               Case 3:21-cv-01974-X Document 22 Exhibit
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                                                                         Civil Action Service List
                                                                        Served via First Class Mail


          Description                 CreditorName           CreditorNoticeName               Address1           Address2   Address3       City     State      Zip
                                                          John Y. Bonds, III, John T.
                                                          Wilson, IV, Bryan C. Assink,
                               Bonds Ellis Eppich Schafer Clay M. Taylor, William R. 420 Throckmorton
 Counsel for James Dondero     Jones LLP                  Howell, Jr.                  Street, Suite 1000                              Fort Worth   TX      76102
                                                                                       5301 Village Creek
 Counsel for James Dondero     David Kane PC              David L Kane                 Drive                  Suite D                  Plano        TX      75093
                               Law Office of Michael
 Counsel for James Dondero     Eidelman                   Michael Eidelman             10 South Wacker Dr                              Chicago      IL      60606
 Counsel for CLO Holdco, Ltd.                             Mazin A Sbaiti, Jonathan     J.P. Morgan Chase      2200 Ross     Suite
 and Charitable DAF Fund, L.P. Sbaiti & Company PLLC      Bridges, Kevin N Colquitt    Tower                  Avenue        4900W      Dallas       TX      75201
 Counsel for The Charitable
 DAF Fund LP                   Schaerr Jaffe LLP          Brian J Field, Erik S Jaffe  1717 K Street NW       Suite 900                Washington DC        985577
                                                                                       Chambers of Judge      1100 Commerce Room
 Bankruptcy Judge              US Bankruptcy Court        Hon. Stacey G Jernigan       Stacey G C Jernigan    St            1254       Dallas       TX      75242-1496
                               Vedder Price Kaufman &
 Counsel for James Dondero     Kammholz                   Douglas Joseph Lipke         222 North LaSalle St   Suite 2600               Chicago      IL      60601
                                                          Thomas P Cimino , Jr,
 Counsel for James Dondero     Vedder Price PC            William W Thorsness          222 North LaSalle St   Suite 2600               Chicago      IL      60601




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